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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



UNTED STATES OF AMERICA

            v.                                21 Cr 570. Judge Mehta

LANDON COPELAND

            CONSENT MOTION TO VACATE MARCH 15, 2023
              DATE AND TO RESCHEDULE SENTENCING

      Counsel for Mr. Copeland in conjunction with the Office of the United
States Attorney now move this Court to reschedule the Sentencing of
Landon Copeland from the date of March 15, 2023 to April 4th, 2023. Mr.
Copeland has not been brought to the District of Columbia by the United
States Marshal in time to go forward on the original date.


      WHEREFORE,       we move the Court to reschedule Sentencing until
April 4, 2023.


                                        Respectfully submitted,


                                        ___________/s/_________________
                                        H. Heather Shaner, Esq. # 273276
                                        Appointed by the Court for
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